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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- x
In re                                                    :      Chapter 7
                                                         :
KENNETH IRA STARR, et al.,                               :      Case No. 11-10219 (ALG)
                                                         :
                                    Debtors. 1           :      Jointly Administered
                                                         :      Substantively Consolidated
                                                         :
-------------------------------------------------------- x


               ORDER GRANTING APPLICATION FOR ALLOWANCE OF
                  ADMINISTRATIVE CLAIM FOR COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF AURORA CASSIRER,
               FORMER RECEIVER, AND TROUTMAN SANDERS LLP, AS
                 COUNSEL TO THE FORMER RECEIVER, PURSUANT
                TO ORDER OF THIS COURT DATED DECEMBER 8, 2011


        Upon consideration of the Application of Aurora Cassirer (“Cassirer”), as the former

Receiver for Starr & Company, LLC and Starr Investment Advisors, LLC, and Troutman

Sanders LLP (“Troutman Sanders”), as counsel to the Receiver, for award of an administrative

claim against the consolidated estates of the Debtors for compensation for services and

reimbursement of expenses for the period from June 1, 2010 through June 30, 2012, subordinate

only to the chapter 7 administrative fees and expenses of Robert L. Geltzer, as the Chapter 7

Trustee herein (the “Trustee”), and the Trustee’s professionals arising from or related to the

administration of the Debtors’ estates (the “Application”); and the Court having jurisdiction to

consider the Application and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334,

and the Standing Order of Referral of Cases to Bankruptcy Court Judges of the District Court for

the Southern District of New York, dated January 31, 2012 (Preska, Acting C.J.); consideration


1
 The Debtors in these consolidated cases and the case number assigned to each of the Debtors are as follows:
Kenneth Ira Starr (11-10219 (ALG)); Starr & Company, LLC (11-10637 (ALG)); and Starr Investment Advisors,
LLC (11-10639 (ALG)).

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of the Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Application having been provided; and the

Trustee, Cassirer and Troutman Sanders having entered into a Stipulation, dated December 18,

2013, pursuant to which Troutman Sanders agreed to reduce the amount of its compensation

requested in the Application and the Trustee agreed that he would not object to the Application

as so reduced; and no objections having been filed to the Application; and the Court having held

a hearing on the Application on December 23, 2013; and upon the record of the hearing; and due

consideration having been given to the Application; and sufficient cause having been shown

therefore, it is hereby

        ORDERED that, the Application is granted to the extent set forth in Schedule A

attached hereto; and it is further

        ORDERED that, this Court by separate Order having authorized the Trustee to make a

first interim distribution to creditors, including a payment of $100,000 in the aggregate to

Cassirer and Troutman Sanders on account of their administrative claims as granted by this

Order, the said $100,000 payment shall be divided and paid to Cassirer and Troutman Sanders as

set forth in Schedule A attached hereto; and it is further

        ORDERED that, as provided in this Court’s Order Granting Motion of Robert L.

Geltzer, as Chapter 7 Trustee of Kenneth Ira Starr, for Joint Administration and Substantive

Consolidation of Estates of Kenneth Ira Starr, Starr & Company, LLC and Starr Investment

Advisors, LLC, dated December 8, 2011 [Docket No. 65], the administrative claims granted

hereby are subordinate only to the Chapter 7 administrative fees and expenses of Robert L.

Geltzer, as the Chapter 7 Trustee herein, and the Trustee’s professionals arising from or related

to the administration of the Debtors’ estates.



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Dated: December 23, 2013
       New York, New York



                                        /s/ ALLAN L. GROPPER
                                        UNITED STATES BANKRUPTCY JUDGE




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CASE NOS.: 11-10219 (ALG)                                                                                                                     Schedule A
CASE NAME: KENNETH IRA STARR, ET AL.




          (1)                     (2)                (3)                (4)                    (5)               (6)                 (7)           (8)
      APPLICANT                 DATE/         ADMINISTRATIVE      ADMINISTRATIVE       FEES TO BE PAID         TOTAL              INTERIM       INTERIM
                             DOC. NO. OF      CLAIM FOR FEES      CLAIM FOR FEES        FOR PRIOR FEE         INTERIM             EXPENSES     EXPENSES
                             APPLICATION       REQUESTED ON         ALLOWED               PERIOD(S)        DISTRIBUTION          REQUESTED   TO BE PAID FOR
                                                APPLICATION                               (if any) (i.e.        TO BE                         CURRENT FEE
                                                                                       Holdback Release)       PAID BY                           PERIOD
                                                                                                             TRUSTEE 2
Aurora Cassirer,
Former Receiver

Period: 6/1/10 thru            11/12/13
6/30/12                       (Doc. #183)        $74,323.02             $74,323.02            N/A            $18,580.75            N/A            N/A
Troutman Sanders LLP
[Counsel for Former
Receiver]

Period: 6/1/10 thru             11/12/13
6/30/12                       (Doc. #183)       $415,596.04            $325,676.98 3          N/A           $81,419.25             N/A            N/A
                               TOTALS:          $489,919.06            $400,000.00                          $100,000.00



Form Revised September 2011             DATE ON WHICH ORDER WAS SIGNED: 12/23/2013                                     INITIALS: ALG USBJ




        2
            These amounts are to be paid in connection with Trustee’s First Interim Distribution.
        3
            The applicant voluntarily reduced its administrative claim for fees by $89,919.06 (See Stipulation –Doc. No. 199).

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CASE NOS.: 11-10219 (ALG)                                                      CALCULATION OF                                                       EXHIBIT A-1
CASE NAME: KENNETH IRA STARR, ET AL.                                       ADMINISTRATIVE CLAIM FOR
                                                                              FEES AND EXPENSES

                (1)                         (2)                       (3)                        (4)                        (5)                       (6)
            APPLICANT                   TOTAL FEES                TOTAL FEES            FEES HELDBACK FROM                TOTAL                      TOAL
                                        REQUESTED                    PAID                PRIOR FEE PERIOD(S)             EXPENSES                  EXPENSES
                                                                                                                        REQUESTED                    PAID
Aurora Cassirer
[Former Receiver]
                                         $98,768.75               $24,445.73 4                $74,323.02                 $1,175.27                 $1,175.27
Troutman Sanders LLP
[Counsel for Former Receiver]
                                        $520,619.56              $105,023.52 5               $415,596.04                $24,421.00                 $24,421.00




        4
            The Applicant was awarded fees and expenses pursuant to orders of the Honorable Sidney M. Stein in the SEC Action in the amount of $73,719.02.
        5
            The Applicant was awarded fees and expenses pursuant to orders of the Honorable Sidney M. Stein in the SEC Action in the amount of $396,683.10.

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